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                  EXHIBIT B
                                Case 3:18-cv-01373-VAB Document 1-2 Filed 08/14/18 Page 2 of 3


                                                                                                                                           CONGENBILL 2007
                                                                                                                                                           BILL OF LADING
                                                                                                                                              To be used with charter parties
                                                                                                                                                                     Page 1


    Shipper                                                                                     Bill of Lading No.                              Reference No.
Fertilizer Corporation of America
9380 Sunset Drive, Suite B-240                                                                              3
Miami, Florida 33173


    Consignee                                                                                   Vessel
Prosser Fertilizer &Agrotec Co. Ltd.
Mile 8 Western Highway                                                                                  MVBALSA86
Belize City, Belize


    Notify Address                                                                              Port of loading
!Prosser Fertilizer & Agrotec Co. Ltd.                                                                   RIO HAINA, DOMINICAN REPUBLIC
Mile 8 Western Highway
Belize City, Belize
jAttn: Salvador Espat                                                                           Port of discharge
iTel# 011-501-223-5410
                                                                                                           Belize City, Belize


    Shipper's description of goods
                                                                                     ORIGINAL                                                   Gross weight

                                                                                                                                                      600.131 MT
          Diammonium Phosphate in bulk


 "Clean on Board"
 "Freight Payable as per Charter Party dated Nov. 30, 2017"
 "Subject to all terms and conditions of the governing c/p dated Nov. 30, 2017"
                                                                                                                  (of which       on deck at shipper's risk; the Carrier
                                                                                                                 not beign responsible for loss or damage howsoever
                                                                                                                 arising)



     Freight payable as per                                            SHIPPED at the port of loading in apparent good order and condition on board the Vessel
     CHARTER PARTY dated:                                              for carriage to the Port of Discharge or so near thereto as she may safely get the goods
                                                                       spedfied above.
          NOVEMBER30, 2017
                                                                       Weight, measure, quality, quantity, condition, contents and value unknown.
                                                                       IN WITNESS whereof the Master or Agent of the said vessel has signed the number of Bills of
     FREIGHT ADVANCE                                                   Lading indicated below all of this tenor and date, any one of which being accomplished the
     Received on account of freight:                                   others shall be void.

                                                                       FOR CONDmONS OF CARRIAGE SEE OVERLEAF


                                                                       Date shipped on board                Place and date issue                      Number of original
                                                                                                                                                      Bills of Lading
                                                                       December 15, 2017                   RIO HAINA, DOM. REP.
                                                                                                                December 15, 2017                       THREE(3)


                                                                                            -   ··- ·
                                                                     Signature:

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                                                                                                                                               CONGENBILL 2007

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                                         BIMCO                                                                                                                    BILL OF LADING
                                                                                                                                                  To be used with charter parties
                                                                                                                                                                               Page 1

          Shipper                                                                                      Bill of Lading No.                           Reference No.
       Fertilizer Corporation of America
       9380 Sunset Drive, Suite B-240                                                                              2
       Miami, Florida 33173

          Consignee                                                                                    Vessel
        rosser Fertilizer & Agrotec Co. Ltd.
       Mile 8 Western Highway                                                                                MVBALSA86
       Belize City, Belize


           Notify Address                                                                              Port of loading
       Prosser Fertilizer & Agrotec Co. Ltd.
                                                                                                              RIO HAINA, DOMINICAN REPUBLIC
       Mile 8 Western Highway
       Belize City, Belize
         ttn: Salvador Espat                                                                           Port of discharge
       ITel# 011-501-223-5410
                                                                                                                  Belize City, Belize

           Shipper's desaiption of goods                                                                                                            Gross weight


                 Ammonium Sulphate in bulk
                                                                                      oRIGIN                                                              1,003.756 MT



       "Clean on Board"
       "Freight Payable as per Charter Party dated Nov. 30, 2017"
       "Subject to all terms and conditions of the governing c/p dated Nov. 30, 2017"
                                                                                                                        (of which       on deck at shipper's risk; the carrier
                                                                                                                       not being responsible for loss or damage howsoever
                                                                                                                       arising)



           Freight payable as per                                             SHIPPED at the port of loading in apparent good order and condition on board the Vessel
           CHARTER PARTY dated:                                               for carriage to the Port of Discharge or so near thereto as she may safely get the goods
                                                                              specified above.
                 NOVEMBER 30, 2017
                                                                              Weight, measure, quality, quantity, condition, contents and value unknown.
                                                                              IN WITNESS whereof the Master or Agent of the said vessel has signed the number of Bills of
           FREIGHT ADVANCE                                                    Lading indicated below all of this tenor and date, any one of which being accomplished the
           Received on account of freight:                                    others shall be void.

                                                                              FOR CONDmONS OF CARRIAGE SEE OVERLEAF


                                                                              Date shipped on board                Place and date issue                   Number of original
                                                                                                                                                          Bills of Lading
                                                                              December 15, 2017                   RIO RAINA , DOM. REP.
                                                                                                                     December 15 , 2017                       THREE(3)


                                                                            Signature:




                                                                                              Master ofMV BALSA 86



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